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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION


 SCOTT MCCALL,                                )
                                              )
                Plaintiff,                    )
                                              )
                       v.                     ) CAUSE NO: 3:14-cv-131-RLY-WGH
                                              )
 PERDUE FARMS, INC, and                       )
 SERVICE GENERAL CORP., d/b/a                 )
 SERVICEXPRESS,                               )
                                              )
                Defendants.                   )

                                    ORDER OF DISMISSAL

         Pursuant to F.R.C.P. 41, this case is before the Court on Plaintiff’s and Defendants’,

 Joint Stipulation of Dismissal.      The Court hereby ORDERS Plaintiff’s claims against

 Defendants, be dismissed, with prejudice, each party to bear its own fees and costs.



                      6th
        DATED this ____________          August
                                day of ___________, 2015.


                                      ____________________________________
                                                 __________________________________
                                      Judge, United States District Court,
                                      Southern District of Indiana, Evansville Division
                                                 RICHARD L. YOUNG, CHIEF JUDGE
                                                 United States District Court
                                                 Southern District of Indiana

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